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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                                 CASE NO. 24-33602-H4

Felicia Ann Oliver

                                                       CHAPTER 13
DEBTOR

            NOTICE OF SCHEDULE OF HOME MORTGAGE PAYMENTS

    UNLESS AN OBJECTION IS FILED IN WRITING WITH THE CLERK OF THE
    COURT WITHIN 21 DAYS OF THE DATE ON WHICH THIS DOCUMENT WAS
    FILED AND SERVED, THE NOTICE OF SCHEDULE HOME MORTGAGE
    PAYMENTS WILL BE FINAL AND BINDING ON ALL PARTIES WITHOUT A
    HEARING AND WITHOUT FURTHER NOTICE.

      Notice is hereby given that the following is a schedule of payments made to the mortgage
company indicated below during the period beginning December 2023 and ending November
2024.
    Date     Check #                Mortgage Company                               Amount
11/01/2024 0894343            DEUTSCHE BANK NATIONAL TRUST COMPANY$1,661.52

                                                 RESPECTFULLY SUBMITTED,


                                                 /s/David G. Peake
                                                 David G. Peake, Trustee
                                                 Admissions ID No. 15679500
                                                 9660 Hillcroft, Ste 430
                                                 Houston, TX 77096
                                                 (713)283-5400 Telephone
                                                 (713)852-9084 Facsimile
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                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that a true and correct copy of the foregoing was sent
to all parties as listed below on December 10, 2024, either electronically or via BNC or U.S. First
Class Mail.

Felicia Ann Oliver                                  AARON W. MCCARDELL, SR
2310 Quiver Ln                                      THE MCCARDELL LAW FIRM, PLLC
Houston, TX 77067                                   440 LOUISIANA SUITE 1575
                                                    HOUSTON, TX 77002


                                                    DEUTSCHE BANK NATIONAL TRUST
                                                    COMPANY
                                                    PHH MORTGAGE
                                                    ATTN:SBRP
                                                    PO BOX 24781
                                                    WEST PALM BEACH, FL 33416


                                                    /s/David G. Peake
                                                    David G. Peake, Trustee
